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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                           October 16, 2020
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                        David J. Bradley, Clerk

                           GALVESTON DIVISION

 BILLY NELSON,                          §
                                        §
       Plaintiff.                       §
                                        §
 VS.                                    § CIVIL ACTION NO. 3:20-CV-00133
                                        §
 PNK (LAKE CHARLES) LLC, ET             §
 AL.,                                   §
                                        §
       Defendants.                      §

                ORDER ADOPTING MAGISTRATE JUDGE’S
                MEMORANDUM AND RECOMMENDATION

       On September 15, 2020, all non-dispositive pretrial matters in this case were

referred to United States Magistrate Judge Andrew M. Edison pursuant to 28

U.S.C. § 636(b)(1)(A). Dkt. 20. On September 20, 2020, Judge Edison filed a

memorandum and recommendation (Dkt. 26) recommending that the defendants’

Rule 12(b)(2)/(3) Motion to Dismiss for Lack of Personal Jurisdiction or Improper

Venue; or in the Alternative, to Transfer to the Western District of Louisiana for

Convenience (“Motion to Dismiss”) (Dkt. 12) be granted.

       No objections have been filed to the memorandum and recommendation.

Accordingly, the court reviews the memorandum and recommendation for plain

error on the face of the record. 28 U.S.C. § 636(b)(1); see also, FED. R. CIV. P.

72(b)(3).
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      Based on the pleadings, the record, and the applicable law, the court finds

that there is no plain error apparent from the face of the record. Accordingly, it is

ordered that:

      (1)    Judge Edison’s memorandum and recommendation (Dkt. 26) is
             approved and adopted in its entirety as the holding of the court;

      (2)    The defendants’ motion to dismiss (Dkt. 12) is granted; and

      (3)    This case be tranferred to the United States District Court for the
             District of Western Louisiana—Lake Charles Division.

      Signed on Galveston Island this 16th day of October, 2020.




                                       ______________________________
                                            JEFFREY VINCENT BROWN
                                         UNITED STATES DISTRICT JUDGE




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